Case 1:06-cr-00615-R.]D Document 312 Filed 01/25/10 Page 1 of 1 Page|D #: 2176

BEFORE RAYMOND J. DEARIE
UNITED STATES DISTRICT JUDGE

CRIMINAL CAUSE FOR SENTENCE
DATE: JANUARY 25, 2010 FROM Z:OOPM TO 2:40PM
DOCKET NUMBER: CR 06-615(8-2)-03 (R.H))

U.S.A. -v- THIRUTHANIKAN THANIGASALAM (IN CUSTODY)
COUNSEL: LEE GINSBERG (RETAINED)

AUSA: MARSHAL MILLER & ANDREW GOLDSMITH
COURTREPORTER: HENRY SHAPIRO

X CASE CALLED FOR SENTENCE.
X COURT ACCEPTED PLEA OF GUILTY ON 1/27/09 TO COUNTS
2, 3, 4, 5 OF A FIVE COUNT SUPERSEDING INDICTMENT(S-Z).

X DEFENDANT IS SEN'I`ENCED AS FOLLOWS:
DEFENDANT IS HEREBY COMMITTED TO THE CUSTODY OF THE
UNITED STATES BUREAU OF PRISONS TO BE IMPRISONED FOR A
TOTAL TERM OF: TWENTY-FIVE(ZS) YEARS AS FOLLOWS:
COUNTS 2, 3: FIFTEEN(lS) YEARS TO RUN CONCURRENTLY WITH
EACH OTHER;
COUNTS 4, 5: TWENTY-FIVE(ZS) YEARS TO RUN CONCURRENTLY
WITH EACH OTHER AND WITH THE SENTENCES IMPOSED ON
COUNTS 2 AND 3.
IF CONSISTENT WITH THE BUREAU OF PRISONS POLICIES PRACTICES
AND GUIDELINES, THE COURT STRONGLY RECOMMENDS THAT THE
DEFENDANT BE DESIGNATED TO A FACILITY AS CLOSE TO THE
CANADIAN BORDER AS POSSIBLE. THE COURT FURTHER INVITES
CONSIDERATION OF FCI RAYBROOK AND URGES DESIGNATION OF
DEFENDANT AND DEFENDANT’S CO-DEFENDANT, HIS BROTHER-IN-LAW
SAHILAL SABARATNAM TO THE SAME FACILITY.

X UPON RELEASE FROM CUSTODY, THE DEFENDANT SHALL BE ON
SUPERVISED RELEASE FOR A TERM OF FIVE(S) YEARS.
SPECIAL CONDITIONS OF SUPERVISED RELEASE:

$400 SPECIAL ASSESSMENT
UPON MOTION OF AUSA, ALL OPEN COUNTS, DISMISSED.
DEFENDANT ADVISED OF RIGHT 'l`O APPEAL.

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